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                             UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF PENNSYLVANIA

IN RE:                                              :      Chapter 13
              DAVID EDWARD MOORE,                   :
                   Debtor                           :      Bky. No. 16-17404 ELF


                                          ORDER

       AND NOW, upon consideration of the Debtor’s Motion to Modify Confirmed Plan (“the

Motion”), and after notice and hearing, and with the consent of the Chapter 13 Trustee,

       It is hereby ORDERED that:

1. The Motion is GRANTED.

2. The Debtor’s Amended Chapter 13 Plan (Doc. #114 ) is APPROVED.




Date: August 20, 2019
                                            ERIC L. FRANK
                                            U.S. BANKRUPTCY JUDGE
